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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

HI-TECH ELECTRIC, INC. OF                      )
DELAWARE, INC.,                                )
                                               )
       Plaintiff,                              )
                                               )
v.                                             ) Civil Action No. 2:15-cv-3034(R)(4)
                                               )
T&B CONSTRUCTION AND                           )
ELECTRICAL SERVICES, INC.                      )
(f/k/a T&B ELECTRIC, INC. and                  )
f/k/a T&B ELECTRICAL, INC.),                   )
                                               )
       Defendant.                              )

                            MOTION TO FIX ATTORNEY’S FEE

       Plaintiff, Hi-Tech Electric, Inc. of Delaware, through undersigned counsel, moves

pursuant to this Court’s Order filed as Document 50 herein on May 31, 2016 to fix its attorney’s

fee in accordance with the affidavit attached hereto.

                                 CERTIFICATE OF SERVICE

       I certify that on June 7, 2016, I filed the foregoing Motion to Fix Attorney’s Fee via this

Court’s CM/ECF system, which will serve notice upon Chadwick A. Tobler, Esq., counsel for

defendant, T&B Construction and Electrical Services, Inc.




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